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7                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
8
     UNITED STATES OF AMERICA,                         Case No. 2:22-mj-726-BNW00000-XXX
9
                     Plaintiff,                        Stipulation to Extend Deadlines to
10                                                     Conduct Preliminary Hearing and
            v.                                         File Indictment
11                                                     (Sixth Request)
     SHAVONTE HILL,
12
                     Defendant.
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            IT IS HEREBY STIPULATED AND AGREED, by and between Jason M.
15
     Frierson, United States Attorney, and Kimberly M. Frayn, Assistant United States
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     Attorney, counsel for the United States of America, and Andrew Leavitt, Esq., counsel for
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     Defendant Shavonte Hill, that the Court vacate the Preliminary Hearing schedule for June
18
     12, 2023, and continue it for 30 days. This request requires that the Court extend two
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     deadlines: (1) that a preliminary hearing be conducted within 14 days of a detained
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     defendant’s initial appearance, see Fed. R. Crim. P. 5.1(c); and (2) that an information or
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     indictment be filed within 30 days of a defendant’s arrest, see 18 U.S.C. § 3161(b).
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            This stipulation is entered into for the following reasons:
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1            1.       Defendant and Mr. Leavitt, Esq. need additional time to review the

2    discovery, conduct any necessary follow up investigation, and engage in pretrial motion

3    practice, if warranted, before the Preliminary Hearing. Also, the parties are continuing to

4    communicate to see if this matter can be resolved by plea negotiation and defendant is

5    considering a written plea agreement, which the government has provided. If so, the

6    preliminary hearing could be vacated to conserve judicial resources once a change of plea

7    hearing is held.

8            2.       Under Federal Rule of Criminal Procedure 5.1(c), the Court “must hold the

9    preliminary hearing within a reasonable time, but no later than 14 days after the initial

10   appearance if the defendant is in custody . . . .”

11           3.       However, under Rule 5.1(d), “[w]ith the defendant’s consent and upon a

12   showing of good cause—taking into account the public interest in the prompt disposition of

13   criminal cases—a magistrate judge may extend the time limits in Rule 5.1(c) one or more

14   times . . . .”

15           4.       Furthermore, under the Speedy Trial Act, 18 U.S.C. § 3161(b), “[a]ny

16   information or indictment charging an individual with the commission of an offense shall be

17   filed within thirty days from the date on which such individual was arrested or served with a

18   summons in connection with such charges.”

19           5.       Additionally, Defendant needs additional time to investigate potential

20   defenses to make an informed decision as to how to proceed.

21           6.       Accordingly, the parties jointly request that the Court schedule the

22   preliminary hearing in this case no sooner than 30 days from the current hearing date, June

23   12, 2023.

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1           7.       Defendant is in custody and agrees to the extension of the 14-day deadline

2    imposed by Rule 5.1(c) and waives any right to remedies under Rule 5.1(c) or 18 U.S.C.

3    § 3161(b), provided that the information or indictment is filed on or before the date ordered

4    pursuant to this stipulation.

5           8.       The parties agree to the extension of that deadline.

6           9.       Accordingly, the additional time requested by this stipulation is allowed

7    under Federal Rule of Criminal Procedure 5.1(d).

8           10.      In addition, the parties stipulate and agree that the time between today and

9    the preliminary hearing is excludable in computing the time within which the defendant

10   must be indicted, and the trial herein must commence pursuant to the Speedy Trial Act, 18

11   U.S.C. § 3161(b) and (h)(7)(A), considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i)

12   and (iv).

13          11.      This is the sixth request for an extension of the deadlines by which to conduct

14   the preliminary hearing and to file an indictment.

15          DATED this 8th day of June, 2023.

16                                                Respectfully submitted,

17                                                JASON M. FRIERSON
                                                  United States Attorney
18
      /s/Andrew Leavitt, Esq.                     /s/Kimberly M. Frayn
19    ANDREW LEAVITT, ESQ.                        KIMBERLY M. FRAYN
      Counsel for Defendant HILL                  Assistant United States Attorney
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1                       UNITED STATES DISTRICT COURT
2                            DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                         Case No. 2:22-mj-726-BNW00000

4                    Plaintiff,                        [Proposed] Order on Stipulation to
                                                       Extend Deadlines to Conduct
5           v.                                         Preliminary Hearing and
                                                       File Indictment
6    SHAVONTE HILL,

7
                     Defendant.
8

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            Based on the stipulation of counsel, good cause appearing, and the best interest of
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     justice being served; the time requested by this stipulation being excludable in computing
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     the time within which the defendant must be indicted and the trial herein must commence
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     pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of
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     Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):
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            IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled
15
                                                   July 7, 2023atatthe
     for June 12, 2023 be vacated and continued to ___________      3:30 p.m.
                                                                       hour of _______.
16
            DATED: this
            DATED  June___
                         8, day
                            2023.
                                of __________, 2023.
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18                                              BRENDA N. WEKSLER
                                                UNITED STATES MAGISTRATE JUDGE
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